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15

16                              UNITED STATES DISTRICT COURT

17                           NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19

20   URSULA FREITAS, individual, on behalf of             Case No. 3:19-cv-07270-WHA-AGT
     herself and others similarly situated,
21
     Plaintiffs,                                          DEFENDANT CRICKET WIRELESS
22                                                        LLC’S AGREED ADMINISTRATIVE
     v.                                                   MOTION TO FILE UNDER SEAL
23
     CRICKET WIRELESS, LLC,                               Judge: Hon. William H. Alsup
24
                            Defendant.
25

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     DEFENDANT CRICKET WIRELESS’S AGREED ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL;
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            Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Cricket Wireless, LLC
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 2   (“Cricket”) respectfully submits this administrative motion to file under seal Exhibits A-F to the

 3   declaration of Gary Braxton, Exhibits A-B to the declaration of Joy Ledyard, and Exhibit A to

 4   the declaration of Ashish Pradhan filed in support of Cricket’s motion to enforce text-message
 5
     and electronic-signature arbitration agreements of potential class members. These exhibits are
 6
     lists of confidential information regarding hundreds of thousands of current and former Cricket’s
 7
     customers, including their names and Cricket account numbers. Both plaintiffs and Cricket agree
 8
     that these exhibits should be filed under seal to protect the privacy of these consumers.
 9

10          In accordance with the Civil Local Rule 79-5, Cricket is electronically filing the

11   following:
12                •   this administrative motion for leave to file under seal (id. 79-5(b), 79-5(c)(1));
13
                  •   the Declaration of Kevin Ranlett establishing the confidentiality of the documents
14
                      in question (id. 79-5(c)(2));
15
                  •   redacted versions of each document to be filed under seal (id. 79-5(d)(1)(C));
16

17                •   unredacted versions of those documents (id. 79-5(e)); and

18                •   a narrowly-tailored proposed order (id. 79-5(c)(3)).
19
                                                      Discussion
20
            Under Civil Local Rule 79-5, a party may request leave to file documents under seal
21
     when the need to “keep certain judicial records secret” outweighs the “interests of the public” in
22
     having access to “public records and documents, including judicial records and documents.”
23

24   DotStrategy Co. v. Meta Platforms, Inc., 2021 WL 5978328, at *1 (N.D. Cal. Nov. 18, 2021)

25   (Alsup, J.). The Ninth Circuit has held that when confidential documents are submitted in

26   connection with a motion that is only “tangentially related to the merits of a case,” the need for
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     “public access” to those materials is reduced and the materials may be sealed if there is “good
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      DEFENDANT CRICKET WIRELESS’S AGREED ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL;
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     cause” for doing so. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097-1102 (9th
 1

 2   Cir. 2016). That is the case here; Cricket’s motion to compel arbitration is only tangentially

 3   related to plaintiffs’ underlying civil RICO claims. But leave to file the Cricket customers’

 4   personal information under seal should be granted even under the higher, “compelling need”
 5
     standard applicable to requests to seal documents that directly “relate[] to the merits of a case.”
 6
     Id. at 1094, 1102.
 7
            First, federal and state law require that the names and account numbers of telephone
 8
     subscribers in Exhibits A-F of the Braxton declaration, Exhibits A-B of the Ledyard declaration,
 9

10   and Exhibit A of the Pradhan declaration be kept confidential. Under federal law, “information

11   that relates to” the “type” or “location” of a “telecommunications service” or that would be
12   “contained in the bills” for that service—such as customer names and account numbers—cannot
13
     be disclosed without the customer’s consent unless “individual customer identities and
14
     characteristics have been removed.” 47 U.S.C. § 222(c)m (h)(1)-(2). Indeed, the FCC has ruled
15
     that telecommunications providers must keep “personally identifiable information” about
16

17   customers confidential, including “a consumer’s (i) first and last name; (ii) home or other

18   physical address; (iii) email address or other online contact information . . .; and (iv) telephone

19   number[.]” In re Terracom, Inc. v. Yourtel Am., Inc., 29 FCC Rcd. 13325, at *6 (Oct. 24, 2014).
20   California law also bars telephone companies from disclosing “[d]emographic information about
21
     individual residential subscribers, or aggregate information from which individual identities and
22
     characteristics have not been removed.” Cal. Pub. Util. Code § 2981(a)(4).
23
            Second, even apart from these statutes, the Ninth Circuit has held that “‘compelling
24

25   reasons’ sufficient to outweigh the public’s interest in disclosure and justify sealing court records

26   exist when such court files might have become a vehicle for improper purposes.” Kamakana v.

27   City & Cty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006). The publication of the names and
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     wireless account numbers of hundreds of thousands of consumers poses risk to those individuals.
 1

 2   Not only could this compiled information be used by third parties to invade their privacy,

 3   publication would expose them to the risk of identity theft. Courts routinely hold that

 4   “compelling reasons exist to keep personal information confidential to protect an individual’s
 5
     privacy interest and to prevent exposure to harm or identity theft.” Nursing Home Pension Fund
 6
     v. Oracle Corp., 2007 WL 3232267, at *2 (N.D. Cal. Nov. 1, 2007); see also, e.g., Benedict v.
 7
     Hewlett-Packard Co., 2014 WL 233827, at *3 (N.D. Cal. Jan. 21, 2014) (home addresses, phone
 8
     numbers, and email addresses are sealable); Rainbow Bus. Solutions v. Merchant Servs., Inc.,
 9

10   2013 WL 6734086, at *1 n.3 (N.D. Cal. Dec. 20, 2013) (“customer names, address[,] and

11   telephone numbers” are sealable); Nursing Home Pension Fund v. Oracle Corp., 2007 WL
12   3232267, at *2 (N.D. Cal. Nov. 1, 2007) (same for home addresses and financial account
13
     numbers).
14
            Moreover, a less restrictive alternative to sealing is not sufficient. DotStrategy, 2021 WL
15
     5978328, at *1. The exhibits to be sealed consist of lists of identifying and account information
16

17   for hundreds of thousands of consumers. The Court’s December 17, 2021 Order makes clear that

18   the Court and plaintiffs need this unredacted customer information to adjudicate Cricket’s

19   motion to enforce these customers’ text-message and electronic-signature arbitration agreements.
20   Dkt. 344 at 1-5. That information cannot be provided without jeopardizing the privacy of these
21
     consumers unless it is submitted under seal.
22
            Finally, plaintiffs consent to Cricket’s request for leave to file this information under seal
23
     in order to protect the privacy of its current and former customers.
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                                                      4
      DEFENDANT CRICKET WIRELESS’S AGREED ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL;
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                                                Conclusion
 1

 2          For these reasons, Cricket requests that Exhibits A-F of the declaration of Gary W.

 3   Braxton, Exhibits A-B of the declaration of Joy Ledyard, and Exhibit A of the declaration of

 4   Ashish Pradhan be filed under seal.
 5

 6

 7          Dated: January 7, 2022                        Respectfully submitted,

 8                                                        MAYER BROWN LLP

 9
                                                          /s/ Kevin Ranlett
10                                                        Kevin Ranlett

11                                                        Counsel for Defendant
                                                          CRICKET WIRELESS, LLC
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      DEFENDANT CRICKET WIRELESS’S AGREED ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL;
      CASE NO. 3:19-CV-07270-WHA
